Case 2:04-cV-02780-.]P|\/|-de Document 16 Filed 05/18/05 Page 1 of 2 Page|D 38

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WESTERN DISTRICT OF TENNESSEE:

WESTERN DIVISION

 

KAREN LAWRENCE and

REBECCA A. OWENS as the

next cf kin cf HELEN

PRIMROSE, deceased, JUDGMENT IN A CIVIL CASE

VS

KINDRED NURslNG cENTERs
LIM:TED d/b/a sPRING GATE

REHABILITATION cENTERs &

HEALTH cARE cENTERs, et al. cAsE No= 04-2780 Ml/v

 

This action having been dismissed by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the thice
cf Dismissal filed May 12, 2005, this case is DISMISSED with
prejudice.

M<wa

JON PHIPPS MCCALLA
UN ED STATES DISTRICT COURT

mh~w {Z> 2005 T>-W-BERT R_ DlTP;)

Datel Clerk of Ccurt

 

 

 

(By)§/Depgty CleE&

Thfs document entered on the docket shaeti com?nce

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with mile 58 and/or 79(3) FHCP on § g f 6

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
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Honorable J on McCalla
US DISTRICT COURT

